Exhibit B
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                               CAMPAGNE,. CAMPAGNE & LERNER
                                   A Paon..~ONAL CORPORATION:
     AJ1ORI'IIY!!
THOMAS E. CAMPAGNE                                                      AJltPOltT OJ1ll'la CII'I'n:R
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BlUNDON 'M. COLLET                     October 8, 2010                     FAX (59) m-"17



    Via Facsimile (209) 726-1337
    and U.S. Mail

    Roger S. Matzkind
    County of Merced
    2222 M Street
    Merced, California 95340

                       Re:   Karen Crane-McNab, Uc, et al. v. County ofMerced
                             USDC Eastern Dist Case No. 1:08-CV-01218-LJ()'SMS
                             Our Reference Nos.: BN-S3016: FN-781 1

    Dear Mr. Matzkind:

                    I am writing now in response to your September 17, 2010 letter
    (received Sept. 20, 2010) in which you lodged a proposed sanctions motion for
    "safe harbor'~ Wlder FRep Rule II. I have reviewed your lodged motion and this
    letter shall serve as Plaintiffs' formal response.

                  Your motion is apparently based on aUeged violation of FRCP
    11 (b)(3) in that you contend certain allegations contained in Plaintiffs' Third
    Amended Complaint do not have evidentiary support or are not likely to have
    evidentiary support. As you arc aware, Rule 11 provides that a sanctions motion
    brought under the Rule must be served on the opposing party at least 21 days prior
    to being filed with the court. "If. during this period, the alleged violation is
    corrected, as by withdrawing (whether formally or informally) some allegation or
    contention, the motion should not be flIed with the court." (Rule 11 Adv.
    Committee Notes, 1993 Amend. [emphasis added].) "The timely withdrawal ofa
    contention will protect a party from Q motion for sanctions."" <I4J

                 As with virtually every lawsuit, Plaintiffs' pleadings included
    contentions which Plaintiffs had good reason to believe to be true, but for which
    subsequent discovery did not produce evidentiary support            Your motion
    erroneously contends that Plaintiffs should thereafter have amended their
     complaint to withdraw such allegations. Not so. Rule 11(b) "does not require a
    formal amendment to pleadings for which evidentiary support is not obtained, but
    rather calls upon a litigant not thereafter to advocate such claims or defenses."
     (Id.) Having reviewed each factual contention set forth in your lodged motion, it
     is clear that those contentions for which Plaintiffs did not obtain evidence in
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       Roger Matzkind
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       discovery were conceded in Plaintiffs' response to the County's summary
       judgment motion, and thus were not "thereafter advocated." However, in light of
       your lodged motion, these contentions are set forth and fonnal1y withdrawn ad
       seriatim below:

                        1.     'County of Merced 'owns the Highway 59 Landfi1l' ­
                 Withdrawn, Although it has absolutely no legal significance insofar
                 as the County's liability (as the day-to-day operator of the Landfill)
                 is concerned, Plaintiffs concede that the Landfill is owned by a JPA
                 of which the COlUlty is a member.

                     2,     'Hazardous materials have beeD released from the
               Landfill into the groundwater under Plaintiffs' property' ­
               Withdrawn. Plaintiffs concede that, based upon their experts'
                 testing, hazardous materials have not yet migrated into the
                 groundwater below their property.

                        3.      'Employees of County of Merced 'trespass onto the
                 Plaintiffs' property' - Withdrawn. As I previously offered to
                 stipulate to during Mr. Crane's deposition (to which no response was
                 received), Plaintiffs concede that trespass to Plaintiffs' property did
                 not occur in the form of unauthorized access to Plaintiffs' property
                 by the County's employees.

                     . 4.      'The County defrauded Plaintiffs by concealing a
                 possible release of hazardous chemicals on Plaintiffs t property' ­
                 Withdrawn insofar as there was any active concealment Plaintiffs
                 obviously still contended there was a release of hazardous chemicals
                 and that the County failed to notify the surrounding neigbbors~
                 including the Cranes, in violation of Civil Code §851 and Health &
                 Safety Code §253S9.S. However, as set forth in Plaintiffs' response
                 to the County's summary judgment motion. Plaintiffs no longer
                 allege concealment and Plaintiffs have withdrawn their fraud
                 allegations.

                        S.     "The County of Merced owns Canal Creek' ­
                 Withdrawn. Although, again, it has absolutely no legal significance
                 ~ince the County maintains Canal Creek pursuant to cootract with.
                 Merced Irrigation District, and it is this maintenance (or lack
                 thereot) upon which the County's liability is premised, Plaintiffs
                 concede that the Irrigation District owns this portion of Canal Creek.
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       Roger Matzkind
       October 8, 2010
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                     6.      'Countyts actions interfere with the rental of the
              property in the dam area' Although Plaintiffs' Third Amended
              Complaint does not contain this allegation (and, notably. your
              motion does not cite to any such allegation in the complaint),
              Plaintiffs concede that the County's actions in maintaining the dam
              and its adjacent watelWays did not interfere with the rental of
              Plaintiffs' property. (Rather, it was the Cowrty's acts or omissions
              in operating the Landfill which, among other thlngs, interfered with
              Plaintiffs' renter's cattle operations by killing bis cattle.)

                      The rem.a.ining contentions set forth in your motion have clear
       evidentiary support and/or, at the very least, are fairly debatable. Note that, as set
       forth by the Advisory Committee, "Rule 11 motions should not be made or
       threatened lor minor. inconsequential 'Violations 0/ the standards prescribed by
       subdiVision (b)," nor "to intimidate an adversary into withdrawing contentions
       that are fairly debatable." (ld.) Although previously conceded in response to the
       County's summary judgment motion, the foregoing contentions which lack
       evidentiary support have now been fonnally withdrawn. Accordinglyt in
       compliance with Rule 11 '5 safe harbor provision, your motion should not be filed
       with the court.

                       However, please note that ~'the filing of a motion for sanctions is
        itself subject to the requirements of the Rule and can lead to sanctions," even
        without Plaintiffs filing a cross-motion. (Id.) Therefore be forewarned that in
        light of the aforementioned withdrawals, if you do in fact file your motion,
        Plaintiffs will view this as a continuation of your past practice of attempting to
        litigate this matter via frivolous sanctions motions and threats of such motions
        rather than on the merits ofthe case. In that event, Plaintiffs will seek any and all
        sanctions avaj lable to compensate them for fees and expenses incurred in
        responding to· your frivolous motion, and to deter such future conduct on your
        part.


                                                  Very truly yours,

                                                  Campagne, Campagne & Lerner,
                                                  A P ofessional Corporation



        JTC:jfh
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 TO:                 Roger S. Maukind                       At Fax Number:        (209) 726-1337
 From:               Justin T. Campagne                     Dam:       Friday, October 08; 2010
 Re OurFileReI'el"llDee:       BN-53016                                                  tbls eovenhed :

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